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16                             UNITED STATES DISTRICT COURT
17                                  DISTRICT OF OREGON,
18                                   PORTLAND DIVISION
19

20 LAWRENCE P. CIUFFITELLI, for himself        Case No. 3:16-cv-00-580-AC
   and as Trustee of CUIFFITELLI
21 REVOCABLE TRUST, et al.,                    STIPULATED ESI PROTOCOL
22               Plaintiffs,

23         vs.

24 DELOITTE & TOUCHE LLP, et al.,

25               Defendants.

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 1          The parties hereby stipulate to the following provisions regarding the discovery of

 2 electronically stored information (“ESI”) and production of documents in this matter:

 3          1.      This Stipulation supplements all other discovery rules and orders. It

 4 streamlines ESI production to promote a “just, speedy, and inexpensive determination” of this

 5 action, as required by Federal Rule of Civil Procedure 1.

 6          2.      This Stipulation may be modified for good cause.

 7          3.      A party’s meaningful compliance with this Stipulation and efforts to promote

 8 efficiency and reduce costs will be considered in any cost-shifting determinations. Likewise, a

 9 party’s nonresponsive or dilatory discovery tactics will be considered in such cost-shifting

10 determinations.

11          4.      After receiving a request for document production and agreeing or being ordered to

12 produce such documents, the producing party shall conduct a reasonable and good faith search for

13 responsive documents and ESI.

14          5.      With respect to ESI that the parties agree or are required to produce in this matter,

15 including any further ESI required by the Court’s February 21, 2017 order (Dkt. No. 213), each

16 producing party shall timely propose and attempt to reach agreement with the requesting party on

17 the following search parameters:

18                  a.       Sources and time frame. The sources of documents and files to be

19 collected, searched and reviewed, as well as the time frame for any such documents and files.

20                  b.       Custodians. The custodians from whom collection will occur, identified

21 by name and title.

22                  c.       Non-custodial data sources. A list of the non-custodial data sources, if

23 any, containing non-duplicative discoverable information that will also be collected.

24                  d.       Search terms. The search terms, if any, to be used to identify potentially

25 relevant documents and files for review.

26          6.      In the absence of agreement on the search parameters in Paragraph 5, the producing

27 party shall disclose, at the requesting party’s request, the parameters used for its search at or near

28 the time of production.

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 1          7.      Any agreement on search parameters under Paragraph 5 shall not (1) affect a

 2 producing party’s obligation (in responding to discovery requests) to produce ESI of which it is

 3 aware; (2) affect a requesting party’s right to seek discoverable ESI based on later discovery of

 4 additional facts indicating that agreed-upon search parameters were not sufficient to capture

 5 relevant ESI that is proportional to the needs of the case; and/or (3) limit a requesting party’s right

 6 to request that a producing party undertake targeted pulls for specific ESI that are proportional to

 7 the needs of the case. Notwithstanding the foregoing, the producing party reserves its right to

 8 object to any such additional requests.

 9          8.      Nothing in this Stipulation shall modify the procedures for contesting a claim of

10 privilege or work-product protection established in the Stipulated Protective Order in this matter

11 (Dkt. No. 156).

12          9.      Pursuant to Federal Rule of Evidence 502(d) and the Stipulated Protective Order

13 in this matter (Dkt. No. 156), the inadvertent production of a privileged or work product

14 protected ESI is not a waiver in the pending case or in any other federal, state, or arbitration

15 proceeding.

16          10.     The mere production of ESI in a litigation as part of a mass production shall

17 not itself constitute a waiver for any purpose.

18          11.     The parties acknowledge that they have a common-law obligation to take

19 reasonable and proportional steps to preserve discoverable information in the party’s possession,

20 custody or control.

21          12.     Absent a showing of good cause by the requesting party, the parties shall not be

22 required to modify the procedures used by them in the ordinary course of business to back-up and

23 archive data; provided, however, that the parties shall preserve all discoverable ESI in their

24 possession, custody or control.

25          13.     Absent a showing of good cause by the requesting party, the following categories

26 of ESI need not be preserved or, if preserved, searched for purposes of production:

27                  a.      Deleted, slack, fragmented, or other data only accessible by forensics.

28                  b.      Random access memory (RAM), temporary files, or other ephemeral data

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 1 that are difficult to preserve without disabling the operating system.

 2                  c.       On-line access data such as temporary internet files, history, cache,

 3 cookies, and the like.

 4                  d.       Data in metadata fields that are frequently updated automatically, such as

 5 last-opened dates.

 6                  e.       Back-up and archival data that are substantially duplicative of data that are

 7 more accessible elsewhere.

 8                  f.       Server, system or network logs.

 9                  g.       Data remaining from systems no longer in use that is unintelligible on the

10 systems in use.

11                  h.       Logs of calls made from mobile devices.

12                  i.       Server, system, or network logs.

13           14.    Absent a showing of good cause by the requesting party, the following categories

14 of ESI need not be searched for purposes of production:1

15                  a.       Electronic data (e.g., email, calendars, contact data, and notes) sent to or
16 from mobile devices (e.g., iPhone, iPad, Android, and Blackberry devices).

17                  b.       Text messages, instant messages, and voice messages.
18                  c.       Any ESI created after April 4, 2016.
19           15.    The parties need not preserve or produce drafts of expert reports (partial or

20 complete), notes, and other evidence of communications with experts on the subject of the expert’s

21 actual or potential testimony.

22           16.    The parties need not produce communications between counsel and expert

23 witnesses, communications between an expert and others, including staff members, who work at

24 the direction of the expert to support the expert, or drafts of expert reports.

25           17.    The parties agree to confer regarding the nature and scope of privilege logs for the

26 case, including whether categories of information may be excluded from any logging requirements

27
     1
28    Nothing in this Stipulation shall modify the applicable law governing the preservation of the ESI
     categories identified in Paragraph 14.
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 1 and whether alternatives to document-by-document logs can be exchanged, including whether

 2 metadata and/or category logs would be appropriate.

 3           18.    With respect to privileged or work-product information generated after the filing of

 4 the complaint, the parties are not required to preserve or produce such information, and are not

 5 required to include any such information in privilege logs. In addition, privileged or work-product

 6 information created by or on behalf of outside counsel and communications with litigation

 7 counsel, regardless of their date, do not need to be included on any privilege log.

 8           19.    Absent special circumstances, the parties will prepare their production of

 9 documents in accordance with the agreed-upon specifications set forth in this Stipulation. If

10 special circumstances require a party to materially deviate from the specifications set forth in this

11 Stipulation, that party shall provide notice of the deviation at or promptly after the time of

12 production.2

13           20.    Documents in paper format that exist only in hard copy format and are therefore
14 unavailable electronically should be produced as kept in the usual course of business (including

15 any original folders, binders, covers or containers) with the following specifications:

16                  a.       TIFFs. Hard copy documents should be produced in the form of single-
17 page, Group IV TIFFs at 300 dpi. Insofar as practicable, original documents containing color can

18 be produced as single page, 300 dpi JPG images with JPG compression and a high quality setting

19 as to not degrade the original image. Each TIFF or JPG image should be named as its

20 corresponding Bates number. Original document orientation should be maintained (i.e., portrait to

21 portrait and landscape to landscape). TIFF and JPG image files should be provided in a self-

22 identified “Images” folder.

23                  b.       OCR Text Files. Optical Character Recognition (“OCR”) text files shall

24 be provided as a single text file for each document, not one text file per page. Each file should be

25 named with the beginning Bates number that is assigned to its corresponding document, followed

26 by “.txt”. OCR text files should be provided in a self-identified “Text” directory. To the extent a

27
     2
28    The parties reserve their rights to discuss additional technical issues relating to the form of
     production with the requesting party before making any such production.
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 1 document is redacted, OCR text files for such a document shall not contain text for redacted

 2 portions. The OCR software shall maximize text quality over process speed. For example, if

 3 available, settings such as “auto-skewing” and “auto-rotation” should be turned on during the

 4 OCR process.

 5                 c.       Database Load Files / Cross-Reference Files. Unless otherwise agreed to

 6 by the parties, documents should be provided with Concordance-compatible image and data load

 7 files (i.e., .OPT and DAT files) using standard Concordance delimiters. Concordance-compatible

 8 image and data load files (i.e., .OPT and DAT files) should be provided in a self-identified “Data”

 9 folder.

10                 d.       Coding Fields. Absent special circumstances, documents should be

11 produced with at least the following searchable information in accompanying delimited data files:

12 BegBates; EndBates; BegAttach; EndAttach; Custodian; Confidentiality; Page Count; and

13 TextLink. Entity/Departmental custodians should be identified with a description of the entity or

14 department from which the data originated (e.g., Acme_SharedDrive). A producing party shall

15 use a uniform description of a particular custodian across productions. Multiple custodians in the

16 “Custodian” field shall be separated by a semicolon.

17                 e.       Production Numbering. Each TIFF image should be assigned a production

18 number that: (1) is unique across the entire document production; (2) maintains a constant length

19 across the entire production (i.e., padded to the same number of characters); (3) contains no

20 special characters or embedded spaces; and (4) is sequential within a given document. If a

21 production number or set of productions numbers is skipped in a production, the producing party

22 will so note in a cover letter or production log accompanying the production.

23                 f.       Parent-Child Relationships. Absent special circumstances (e.g., claims of

24 privilege or work product) or undue burden, Parent-child relationships (i.e., the association

25 between an attachment and its parent document) should be preserved. For example, if a party

26 produces a printout of an email with its attachments, such attachments should be produced behind

27 the email in the order in which they were attached and identified as child documents to the parent

28 email.

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 1                   g.      Folders. If a folder with documents is produced, the label of that folder

 2 should be scanned and produced along with the documents in the folder.

 3                   h.      Unitization of Documents. In general, the producing party shall make best

 4 efforts to ensure that scanned, hard copy documents are logically unitized. If the documents are

 5 not logically unitized, documents should be unitized based on physical boundaries (staples, clips

 6 etc.).

 7          21.      Documents in electronic format should be produced with the following

 8 specifications:

 9                   a.      TIFFs. Documents should be produced in the form of single-page, Group

10 IV TIFFs at 300 dpi. Each TIFF or JPG image should be named as its corresponding Bates

11 number. Absent special circumstances or undue burden, original document orientation should be

12 maintained (i.e., portrait to portrait and landscape to landscape). To the extent technically feasible

13 without undue burden, TIFFS or JPGS will show all text and images which would be visible to the

14 reader using the native software that created the document. For example, TIFFS of email

15 messages should include the BCC line. PowerPoint documents shall be processed with hidden

16 slides and all speaker notes unhidden, and shall be processed to show both the slide and the

17 speaker’s notes on the image, and Word documents shall be processed to show tracked changes.

18 TIFF and JPG image files should be provided in a self-identified “Images” folder.

19                   b.      System/Program Files. Common system and program files as defined by

20 the NIST library (which is commonly used by e-discovery vendors to exclude system and program

21 files from document review and production) need not be processed, reviewed or produced.

22 Common date file types (e.g., pdf’s, text and Word/Excel/PPT files and form email messages in

23 program file paths on devices such as PC’s) also need not be processed, reviewed, or produced

24 unless there is evidence that such files are user-created.

25                   c.      De-Duplication. A party is only required to produce a single copy of a

26 responsive document, and a producing party will de-duplicate responsive ESI across custodians

27 using commercially acceptable e-Discovery software that utilizes either MD5 or SHA1

28 cryptographic hash values to de-duplicate ESI (at the document (i.e., parent) level). Additionally,

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 1 (1) attachments to emails shall not be eliminated from their parent emails, (2) attachments to

 2 emails shall not be eliminated as duplicates of responsive non-email ESI, and (3) hard copy

 3 documents shall not be eliminated as duplicates of responsive ESI. Removal of near-duplicate

 4 documents is not acceptable. However, the parties may de-duplicate emails in such a way as to

 5 eliminate earlier or incomplete chains of emails and therefore produce only the most complete

 6 iteration of an email chain (“email thread suppression”). If a producing party utilizes such email

 7 thread suppression for its productions, it shall notify the receiving party of such use. The identity

 8 of the primary custodian must be listed in the “Custodian” field. Entity/Departmental custodians

 9 should be identified with a description of the entity or department from which the data originated

10 (e.g., Acme_SharedDrive). A producing party shall use a uniform description of a particular

11 custodian across productions. Multiple custodians in the “Custodian” field shall be separated by a

12 semicolon. If de-duplicated copies are removed from a production because they are exact

13 duplicates of previously produced documents, a metadata overlay DAT file updating any

14 Custodian field values for the already produced document should be provided at reasonable

15 intervals.

16                  d.      Parent-Child Relationships. Absent special circumstances (e.g., claims of

17 privilege or work product) or undue burden, parent-child relationships (i.e., the association

18 between an attachment and its parent document) should be preserved.

19                  e.      Metadata Fields and Processing. Absent special circumstances, each of the

20 metadata and coding fields set forth in Appendix 1 that can be extracted from a document shall be

21 produced for that document, to the extent already in existence and reasonably accessible. To the

22 extent that metadata does not exist, is not reasonably accessible, or would present an undue burden

23 to produce, nothing in this ESI Protocol shall require any party to extract, capture, collect or

24 produce such data. Nor shall any party have an affirmative obligation to research or track down

25 any alleged issues in connection with the metadata fields in Appendix 1, absent a clear and

26 convincing showing of relevance of the underlying data. The parties are not obligated to populate

27 manually any of the fields in Appendix l if such fields cannot be extracted from a document, with

28 the exception of the following fields (which may be populated by the party or the party’s vendor):

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 1 (l) BegBates; (2) EndBates; (3) BegAttach; (4) EndAttach; (5) Custodian; (6) Confidentiality; (7)

 2 TextLink; and (8) NativeLink (if applicable).

 3                  f.       Extracted Text Files. For each document, an extracted text file should be

 4 provided along with its corresponding TIFF image file(s) and metadata. The file name of each

 5 extracted text file should be identical to that of the first image page of its corresponding document,

 6 followed by “.txt”. File names should not contain any special characters or embedded spaces.

 7 The text of native files should be extracted directly from the native file. However, if a document

 8 has been redacted, OCR of the redacted document will suffice in lieu of extracted text.

 9                  g.       Database Load Files / Cross-Reference Files. Unless otherwise agreed to

10 by the parties, documents should be provided with Concordance-compatible image and data load

11 files (i.e., .OPT and DAT files) using standard Concordance delimiters. Concordance-compatible

12 image and data load files (i.e., .OPT and DAT files) should be provided in a self-identified “Data”

13 folder.

14                  h.       Native Files. Absent special circumstances, Excel files and/or .csv files

15 should be produced in native format (“Native Files”). Native Files should be provided in a self-

16 identified “Native” directory. Each Native File should be produced with a corresponding single-

17 page TIFF placeholder image, which will contain language indicating that the document is being

18 produced as a Native File and will include the assigned bates number and confidentiality

19 designation, if any. Native Files should be named with the beginning Bates number that is

20 assigned to that specific record in the production. A “NativeLink” entry for each Native File

21 should be included in the DAT load file indicating the relative file path to each Native File on the

22 production media. Native Files should be produced with extracted text and applicable metadata

23 fields as set forth in Appendix 1. For documents that require redactions, the parties may apply the

24 redactions directly on the native file itself, but shall also produce TIFF image files with burned in

25 redactions. If a Native File is used at a deposition or hearing in this Action, or attached to a

26 motion or other filing, it shall be accompanied by its production number-stamped placeholder

27 TIFF image in order to facilitate tracking and authentication thereof.

28                  i.       Structured Data. To the extent responding to a discovery request requires

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 1 production of ESI contained in a database, the producing party may query the database for

 2 discoverable information and generate and produce a report in a reasonably usable and exportable

 3 electronic format (e.g., in Excel or .csv format). The first line of each such file will, to the extent

 4 possible, show the column headers for each field of data included. The parties shall meet and

 5 confer to finalize the appropriate data extraction and production format for specific information

 6 contained in a database.

 7                  j.       Audio and Video Files. Audio and video files, to the extent their contents

 8 can be determined to be responsive, will be produced in a reasonably usable form as may be

 9 agreed upon by the parties along with a slip-sheet TIFF placeholder image to the extent the file

10 gets produced in native form.

11                  k.       Requests for Other Native Files. Other than as specifically set forth above,

12 a producing party need not produce documents in native format. If good cause exists for the

13 receiving party to request production of certain documents in native format, the receiving party

14 may request production in native format by providing: (1) a list of the Bates numbers of

15 documents it requests to be produced in native format; and (2) an explanation of the need for

16 reviewing such documents in native format. The producing party shall not unreasonably deny

17 such requests. Each document produced in response to such requests shall be produced with a

18 “NativeLink” entry in the DAT load file indicating the relative file path to each Native File on the

19 production media and all extracted text and applicable metadata fields set forth in Appendix 1.

20                  l.       Confidentiality Designations. If a receiving party reduces to hard copy

21 form Native Files or other ESI designated “Confidential,” it shall mark the hard copy with the

22 appropriate designation and so indicate in a “Confidential” metadata field.

23                  m.       Color. Documents containing color need not be produced in color in the

24 first instance. However, if good cause exists for the receiving party to request production of

25 specific documents in color, the receiving party may request production of such documents in

26 color by providing (1) a list of the Bates numbers of documents it requests to be produced in color

27 format; and (2) an explanation of the need for production in color format. The producing party

28 shall not unreasonably deny such requests.

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 1                  n.      Encryption. To maximize the security of information in transit, any media

 2 on which documents are produced may be encrypted by the producing party. In such cases, the

 3 producing party shall transmit the encryption key or password to the requesting party, under

 4 separate cover, contemporaneously with sending the encrypted media.

 5                  o.      Password Protected Files. The producing party shall make best efforts

 6 either to (1) produce to the receiving party passwords or any other security protection for locked

 7 ESI documents, or (2) remove security protections from the ESI documents and produce a copy

 8 without the security protections. For good cause, a receiving party reserves the right to discover

 9 information regarding the security protection as to any ESI documents that are produced.

10          22.     A party that issues a non-party subpoena shall include a copy of this Stipulation

11 with the subpoena and request that the non-party produce documents in accordance with the

12 specifications set forth herein. If a party issued a non-party subpoena prior to the execution of this

13 Stipulation, and the non-party has not yet finished producing documents in response to the

14 Subpoena, that party shall promptly forward a copy of this Stipulation to the non-party and request

15 that the non-party produce documents in accordance with the specifications set forth herein.

16          23.     The issuing party is responsible for producing any documents obtained pursuant to

17 a subpoena to all other parties. To the extent practical given the data volume, productions by a

18 non-party shall be produced by the issuing party to all other parties within 14 days of the non-

19 party’s production to the issuing party. Reproductions or productions acquired from third parties

20 may be produced in the electronic format that they were originally produced or received from the

21 third party, and need not otherwise be produced in accordance with the terms of this Stipulation.

22 If a third party produced documents without production numbers, then the party who sought

23 discovery from the third party shall produce the reproduction or production with a unique

24 production number.

25          24.     Nothing in this Stipulation is intended to or should be interpreted as narrowing,

26 expanding, or otherwise affecting the rights of the parties or third parties to object to a subpoena.

27          25.     Nothing in this Stipulation shall be interpreted to require disclosure of irrelevant

28 information or relevant information protected by the attorney-client privilege, work product

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 1 doctrine, or any other applicable privilege or immunity. The parties do not waive any objections

 2 as to the production, discoverability, admissibility, or confidentiality of documents and ESI. All

 3 productions are subject to the Stipulated Protective Order entered by the Court in this action

 4 (Dkt.No. 156).

 5           26.    Nothing in this Stipulation shall be construed to affect the discoverability or

 6 admissibility of any document (including ESI).

 7           27.    The parties shall make good-faith efforts to comply with and resolve any

 8 differences concerning compliance with this Stipulation. If a producing party, notwithstanding its

 9 good-faith efforts, cannot substantially comply with any material aspect of this Stipulation or if

10 compliance with such material aspect would be unreasonable, such party shall inform the

11 receiving party in writing as to why compliance with the Stipulation is impossible or unreasonable

12 as soon as reasonably practicable. No party may seek relief from the Court concerning a dispute

13 over compliance with the Stipulation unless it has conferred with the other parties to the litigation

14 that are directly involved in such dispute.

15           28.    Pursuant to Fed. R. Civ. P. 5(b)(2)(E), the parties agree to service by email instead

16 of personal service or service by U.S. Mail.

17           29.    Nothing in this Stipulation shall affect, in any way, a producing party’s right to

18 seek reimbursement for costs associated with collection, review, and/or production of documents

19 or ESI.

20           30.    Nothing in this Stipulation shall preclude the parties from meeting and conferring

21 regarding applicable search terms, date ranges, custodians, and other parameters or methods to be

22 used to cull data for review and production, including the use of technological solutions such as

23 intelligent review or predictive coding.

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                                  STIPULATED ESI PROTOCOL
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 1                                    APPENDIX 1

 2                           ESI Metadata and Coding Fields
 3
              Field                                     Description
 4

 5 BegBates                    Beginning document number
   EndBates                    Ending document number
 6 BegAttach                   Beginning document number of family unit
   End Attach                  Ending document number of family unit
 7 Custodian                   All individuals from whom the document or a duplicate
 8 AttachmentCount             Number of attached documents (not including parent)
   Author                      Author field extracted from the metadata of the native file
 9 To                          All recipients who were included on the “To” line of the e-mail
   From                        Sender of the e-mail
10
   CC                          All recipients who were included on the “CC” line of the e-mail
11 BCC                         All recipients who were included on the “BCC” line of the e-
   Email Subject               Email subject field extracted from the metadata of the native
12 SentDate/Time               Date and time the email was sent
   ReceivedDate/Time           Date and time the email was received
13
   DateLastModified            Date document was last edited
14 FileType                    “Mail” or “attachment” or “individual file”
   FileExtension               File extension of the document
15 FileName                    Name of the original file extracted from the metadata of the
   FileSize                    File size in kilobytes (MB, KB, GB)
16 Title                       Any value populated in the “Title” field of the document
17 TextLink                    Relative file path to the text file for each document
   NativeLink                  Relative file path to each native file on the production media
18 Hash Value                  MD5 or SHA-1 Hash Value, unique document identifier
   Confidentiality             The designated level of confidentiality pursuant to the
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